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                                                                                                                                     FILED
    ""'AO 145B (CASD) (Rev 12111) Judgment in a Criminal Case
               Sheet J


                                                                                                                             CLERK US DISTRICT COURT
                                             UNITED STATES DISTRICT COURT                                                 SOUTHERN DISTRICT
                                                                                                                          BY
                                                                                                                                                  IFORNlA
                                                                                                                                                 J)EPlITY
                                                  SOUTHERN DISTRICT OF CALIFORNIA
                    UNITED STATES OF AMERICA                                         JUDGMENT IN A CRIMINAL CASE
                                                                                     (For Offenses Committed On or Aller November I, 1987)
                                        v.
                             RUTH ANAYA (3)                                          Case Number: IICR3727-BTM

                                                                                     MARC B. GELLER
                                                                                     Defendant's Attome"
    REGISTRATION NO. 27269298

    o
    THE DEFENDANT:
     ~ ~e~edguihy~coun«~_I_O~F~T_H_E_I_N_F_O_R_M_A_T_I_O_N_.~~~~~~~~~~~~~~~~~~~~~~~_
     o    was found guilty on count(s)_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _~
          after a plea of not gUilty.
          Accordingly. the defendant is adjudged guilty of such count(s). which involve the following offense(s):
                                                                                                                                            Count
     Title & Section                         Nature of Offense                                                                             Number(s)
8 USC 1324(a)(2)(B)(iii)              BRINGING IN AN ILLEGAL ALIEN WITHOUT PRESENTATION                                                           I




        The defendant is sentenced as provided in pages 2 through                3           of this judgment. The sentence is imposed pursuant
 to the Sentencing Reform Act of 1984.
  o The defendant has been found not guilty count(s)
                                                011

  o   Count(s)_________________________________ is
                                                            ----------------------------------------~
                                                                                         0      areD dismissed on the motion of the United States.

  181 Assessment: $100.00 to be paid within twelve (12) months.


  181 Fine waived                                     o Forfeiture pursuant to order filed ---------- , included herein.
       IT IS ORDERED that the defendant shallnotity the United States Attorney for this district within 30 days of any change of name. residence.
 or mailing address until all fines. restitution. costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution. the
 defendant shall not1Jy the court and United States Attomey of any material change in the defendant's economic circumstances.

                                                                               DECEMBER 23, 20 II




                                                                                                                                               IICR3727-BTM
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AD 2458 (CASD) (Rev. !2/11) Judgment in a Crimina! Case
           Sheet 2 -- Probation
                                                                                                            Judgment   Page      2     of        3
DEFENDANT: RUTH A~A Y A (3)                                                                           II
CASE NUMBER: llCR3727-BTM
                                                                  PROBATION
The defendant is hereby sentenced to probation for a term of:

 TWO (2) YEARS.

The defendant shall not commit another federal. state. or local crime.
For offenses commilled on or after September 13, 1994:
The defendant shall not illegally possess a controlled substance, The defendant shall refrain from any unlawful use ofa controlled
substance, The defendant shall submit to one drug test within 15 days of placement on probation and at least two periodic drug tests
thereafter as determincd by the court. Testing requirements will not exceed submission of more than_2_drug tests per month dUring
the term of supervision, unless otherwise ordered by court.
D The above drug testing condition is suspended, based ;)n the            ~,)urt's determination that the defendant poses a low risk of
       future substance abuse. (Check, if applicab Ie.)

       The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon.
       The defendant shall cooperate in the collection ofa DNA sample from the defendant, pursuant to section 3 of the DNA Analysis
       Backlog Elimination Act of2000, pursuant to 18 USC sections 3563(a)(7) and 3583(d).
       The defendant shall comply with tne requirements of the Sex Offender Registration and Notification Act (42 U.S.c. § 16901, et seq.) as directed
       by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she resides, works, is a student, or
       was convicted of a qualifying offense. (Check if applicable.)

D      The defendant shall participate in an approved program for domestic violence, (Check, if applicable.)

          If this judgment imposes a fine or restitution obligation, it is a condition of probation that the defendant pay any such fine or
restitution in accordance with the Schedule of Payments sheet of this judgment.
        The defendant shall comply with the standard conditions that have been adopted by this court (sct forth below). The defendant shall
also comply with thc special conditions imposed.


                                       STANDARD CONDITIONS OF SUPERVISION
  I)    the defendant shall not leave the judicial district without the permission of the court or probation officer;
  2)    the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer:
  3)    the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;

  4)    the defendant shall support his or her dependents and meet other family responsibilities;
  5)    the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
        acceptable reasons:
  6)    the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
  7)     the defenda nt shall refrain from excessive usc of alcohol and shall not purchase, possess, use, distribute, or administer any controlled
         substance or any paraphernalia related to ,ny controlled suhstances, except as prescribed by a physician;
  8)    the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered:
  9)     the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any pcrson convicted of
         a felony, unless granted permission to do so by the probation officer;
 10)     the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of
         any contraband ohserved in plain view of the probation officer;
 II)     the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement
         officer;
 12)     the defendant shall not enter into any agreement to act as all informer or a special agent of a law enforcement agency without the
         permission of the court; and
 13)    as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's
        criminal record or personal history 0,' eharact~ristjcs and shall permit the probation officer to make such notifications and to confirm
        the defendant's compliance with such notification requirement.




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       AO 245B (CASD) (Rev 12111 Judgment in a Criminal Case
                   Sheet 3   Special Conditions
                                                                                                            Judgment . Page ~ of _---::3_ __
       DEFENDANT: RUTH ANAYA (3)
       CASE NUMBER: l1CR3727-BTM




                                              SPECIAL CONDITIONS OF SUPERVISION
181 Submit person, residence, office or vehicle to a search, conducted by a United States Probation Officer at a reasonable time and in a
    reasonable manner, based upon reasonable suspicion of contraband or evidence of a violation of a condition of release; failure to submit to a
    search may be grounds for revocation; the defendant shall warn any other residents that the premises may be subject to searches pursuant to
    this condition.
o   If deported. excluded, or allowed to voluntarily return to country of origin, not reenter the United States illegally and report to the probation
    officer within 24 hours of any reentry to the United States; supervision waived upon deportation, exclusion or voluntary departure.
o   Not transport, harbor, or assist undocumented aliens.
o   Not associate with undocumented aliens or alien smugglers.
o   Not reenter the United States illegally.
o   Not enter the Republic of Mexico without written pennission of the Court or probation officer.
181 Report all vehicles owned or cperated, or in which you haVe an interest, to the probation officer.
181 Not possess any narcotic drug or controlled substance without a lawful medical prescription.
o Not associate with known users of, smugglers of, or dealers in narcotics, controlled substances, or dangerous drugs in any fonn.
o   Participate in a program of ri.. ental health treatment as directed by the probation officer, take all medications as prescribed by a
    psychiatrist/physician, and not discontinue any medication without permission. The Court authorizes the release of the presentence report
    and available psychological evaluations to the mental health provider, as approved by the probation officer. Allow for reciprocal release of
    infonnation between the orobation officer and the treatment provider. May be required to contribute to the costs of services rendered in an
    amount to be detennined by the probation officer, based on the defendant's ability to pay.
o   Take no medication containing a controlled substance without valid medical prescription, and provide proof of prescription to the probation
    officer, if directed.
o   Provide complete disc!osu!'<: ,)fperSOllal and ~1'JGille"S fi:!enj,.1 records to the probation officer as requested.
o Be prohibited from opening checking accounts IIlCurring new credit charges or opening additional lines of credit without approval of the
                                                        01
    probation officer.
181 Seek and mr.intain fun time;'nployment and/or schooling or a combination of both.
181 Obtain G .E.D. within one ( I) year.
181 Complete 50 hours of community service in a program approved by the probation officer within 12 months.
o   Reside in a Residential Reentry Center (RRC) as directed by the probation officer for a period of

o   Participate in a program of drug or alcohol abuse treatment, including urinalysis or sweat patch testing and counseling, as directed by the
    probation officer. Allow for reciprocal release of infonnation between the probation officer and the treatment provider. May be required to
    contribute LO the costs of sen ices rendered in ,;iJ amount to be detem1ined by the probation officer, based on the defendant's ability to pay.




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